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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

   ALEXIA PREDDY, individually and on                Case No.:
   behalf of all others similarly situated,

                    Plaintiff,

             v.

   ADT, LLC d/b/a ADT SECURITY
   SERVICES, a Delaware limited liability
   company,

                    Defendant.

                  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

            Plaintiff Alexia Preddy (“Plaintiff”) brings this Class Action Complaint and Demand for

  Jury Trial against Defendant ADT, LLC d/b/a ADT Security Services (“Defendant” or “ADT”),

  based on its intentional and negligent tortious acts in providing security services to its customers

  with remote-viewing capabilities. Plaintiff alleges as follows upon personal knowledge as to

  herself and to her own acts and experiences, and, as to all other matters upon information and

  belief.

                                     NATURE OF THE ACTION

            1.      In April of 2020, Alexia Preddy’s mother received a terrifying phone call from

  ADT: the technician who had installed their indoor security camera system had granted himself

  remote access—three years prior when Ms. Preddy was a teenager—and had used that access

  nearly one hundred times to spy on her and other household members in their most private and

  intimate moments.




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         2.      And Ms. Preddy was not the only one. She soon found out that hundreds of

  households had experienced the same staggering invasion of privacy over at least a seven-year

  period. At fault for this breach of trust: ADT’s unsecure and unmonitored “security” services.

         3.      While ADT boasts that it has been protecting people for over 145 years and holds

  itself out as “#1 in smart home security,” it failed to even secure its own systems from massive

  and ongoing intrusions into its customers’ private lives.

         4.      ADT failed to provide the security services its customers relied on by leaving

  large vulnerabilities in the ADT Pulse application and, as a result, compromised the safety and

  security of its customers’ homes and family members. The ADT vulnerability allowed any one

  of its technicians to grant themselves (or for them to grant anyone else for that matter) access to a

  customer’s ADT Pulse application and control every aspect of the customers’ home security

  systems—including surreptitiously opening locks and viewing security camera footage.

         5.      In a frantic effort to mitigate and hide its actions, ADT began a campaign to call

  all affected account holders and secure a release and confidentially agreement in exchange for a

  monetary payment representing a fraction of the value of their claims. This effort, directed by

  lawyers but carried out by customer service representatives, failed to determine whether

  individuals were represented by counsel, and attempted to mislead them into believing that the

  release would cover account holders and non-account holders in the household alike.

         6.      Beyond the now-known technician who accessed Plaintiff’s home, potentially

  countless other unknown individuals have been accessing customer’s ADT Pulse accounts and

  surreptitiously viewing their camera footage, for years, all around the country.

         7.      The mental and emotional impact this revelation has had on every person

  receiving these calls from ADT is immeasurable. Moments once believed to be private and

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  inside the sanctity of the home are now voyeuristic entertainment for a third party. And worse,

  those moments could have been captured, shared with others, or even posted to the internet.

  ADT’s failure to protect its customers irreparably destroyed their sense of security, safety,

  intimacy, and well-being.

                                               PARTIES

         8.      Plaintiff Alexia Preddy is a natural person and a citizen of the State of Texas.

         9.      Defendant ADT, LLC is a limited liability company organized and existing under

  the laws of Delaware with its principal place of business located at 1501 Yamato Road, Boca

  Raton, Florida 33431.

                                   JURISDICTION AND VENUE

         10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2),

  because (i) at least one member of the Class is a citizen of a different state than the Defendant,

  (ii) the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (iii) none

  of the exceptions under that subsection apply in this action.

         11.     This Court has personal jurisdiction over Defendant because Defendant conducts

  business in Florida and has its headquarters in this District.

         12.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant maintains its

  headquarters and conducts significant business in this District.

                              COMMON FACTUAL ALLEGATIONS

  I.     ADT Promises Safety and Security to Consumers.

         13.     ADT is a home security company that touts its longstanding expertise in security,

  and claims to have been providing security services since the 19th century. According to ADT, it

  has “been helping protect homes longer than any other company in the business.” ADT provides

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  residential security systems and monitoring plans that purportedly “protect what matters most in

  your life.” In short, ADT promises that it is “fully committed to your security.”1

             14.   ADT markets and sells a comprehensive security system package that includes the

  hardware necessary to operate a home security system, the monitoring services that detect home

  intrusions and alert the police, and the security system installation.

             15.   ADT offers various tiers of its home security systems at different price points.

  The basic tier, for example, features security monitoring equipment with 24/7 alarm monitoring

  while the highest tier home security package includes various convenience and home automation

  features.

             16.   One of the highest tier home security packages is ADT Pulse. ADT Pulse allows

  consumers to “check on your home - even if you’re away” by giving them remote access to

  control their home security system from a mobile application or a web browser portal.

  Specifically, consumers can arm and disarm their home security systems, remotely lock and

  unlock doors, view live camera footage, and control various smart home devices like a

  thermostat and lights. See Figure 1, showing a screenshot of ADT’s marketing materials for ADT

  Pulse. 2




  1
          ADT Services | In-Home Consultation, Installation, Repairs, Customer Support,
  https://www.adt.com/services (last visited May 7, 2020).
  2
          ADT     Pulse®     |    Official    ADT      Smart Home  Automation  System,
  https://www.adt.com/pulse (last visited May 7, 2020).
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         (Figure 1.)

         17.    Consumers must purchase various smart devices from ADT to reap the benefits of

  the ADT Pulse service and all the advertised remote accessibility features. ADT touts that its

  smart home features are not only more convenient to consumers, but they provide “smarter

  security.” For example, ADT claims that the purchase of its smart locks for use with the ADT

  Pulse system will result in a “whole new level of security and convenience….” as shown in

  Figure 2.




         (Figure 2.)
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         18.     Most importantly, ADT encourages consumers to purchase video cameras for

  both outdoor and indoor use to “keep an eye on the things you value most.”3 The indoor

  cameras, according to ADT, are specifically intended to “check in on your kids” and can be set

  up to stream and capture video clips of events “like when your kids get home from school.” 4

         19.     Consumers use the ADT Pulse mobile application to “check any or all of your

  ADT home security cameras” and to “look in on your family and your pets any time with live-

  streaming video.” Furthermore, consumers are able view stored video clips from their security

  cameras on their phones via the ADT Pulse mobile application. 5

         20.     To use the ADT Pulse smart home features—like remotely viewing security

  camera footage, disarming a security system, or unlocking smart locks—consumers must login to

  the ADT Pulse mobile application or the ADT Pulse web browser portal by using their username

  and password. Anyone with valid login credentials, like a family member, can access and control

  the security system remotely.

         21.     In order for the ADT Pulse system to function correctly, an ADT technician needs

  to perform the system installation and configuration.

         22.     Each new security system installation comes with a “worry-free professional

  installation” where “high-trained ADT technicians will set-up your ADT security system so you

  don’t have to.”6 ADT technicians will also test the security system and assist the consumer in




  3
           Wireless Home Security Cameras & Video Surveillance Cameras | ADT,
  https://www.adt.com/security-cameras (last visited May 7, 2020).
  4
           Shop ADT® Indoor Home Security Cameras | ADT, https://www.adt.com/indoor-
  security-camera (last visited May 7, 2020).
  5
           Supra note 3.
  6
           ADT® | Compare Home Security System Packages | 2020, https://www.adt.com/compare
  (last visited May 7, 2020)
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  connecting their smart phone to the ADT security system for use with ADT Pulse, as shown in

  Figure 3.




  (Figure 3.)

         23.     ADT further promotes its security services by stating that its technicians are what

  sets it apart from the competitors in being able to earn its customers’ trust and protect the most

  important people in their lives. According to its website: “Our people are dedicated to taking care

  of the people and property you value most in your life. Our customers trust us to help protect

  those things that cannot be replaced.” See Figure 4, showing a screenshot from ADT’s website. 7




  7
          Why ADT has the Best Home Security and Customer                        Service |     ADT,
  https://www.adt.com/security-benefits (last visited May 7, 2020).
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         (Figure 4.)

  II.    ADT Failed to Detect a Seven-Year-Long Breach of its Systems That, at the Very Least,
         Resulted in an ADT Employee Improperly Accessing Customers’ Accounts.

         24.     Unfortunately for all of ADT’s Pulse customers, a vulnerability in the Pulse

  security system completely obliterates all of ADT’s promises of security and protection.

         25.     On or around April 24, 2020, ADT began to contact some of its customers to

  inform them that a vulnerability in the ADT Pulse system had allowed unauthorized users to

  access customers’ ADT Pulse accounts as if they were a regular user. In other words, an

  unauthorized user could remotely arm and disarm security systems, access smart home devices,

  and view security camera footage, including footage from indoor cameras designed to, among

  other things, protect customers’ children.

         26.     In fact, ADT’s investigation revealed that at least one ADT employee in the

  Dallas-Fort Worth Texas area, named Telesforo Aviles, had access to more than 200 different

  customers’ ADT Pulse accounts for the last seven years. According to an ADT spokesperson, the

  ADT technician was able to add—and in fact did add—his own personal email address to

  customers’ accounts, allowing him to remotely login to customers’ accounts using his own,

  unauthorized credentials.



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         27.     This type of access could only occur because ADT failed to implement adequate

  procedures that would prevent non-household members from adding non-household email

  addresses. Similarly, ADT failed to monitor consumers’ accounts and promptly alert them any

  time a new email was added to their accounts. Countless checks could have been in place to

  prevent or at least stop this conduct. Instead, this breach came to light only by luck and

  happenstance: a customer, reporting a technical issue, inadvertently revealed the unwanted third-

  party access. But for that event, ADT would be unaware of this invasive conduct and it would

  continue unabated to this day (likely expanding to new households).

         28.     As such, countless other ADT technicians and/or employees could have taken

  advantage of ADT’s lax security and granted themselves unfettered access to other customer

  accounts—entirely unbeknownst to both the customers and to ADT.

         29.     Although ADT claims it has implemented procedures to prevent similar incidents

  in the future, it is already too late for an unknown number of consumers whose accounts and

  security camera footage have already been accessed and potentially exploited.

                         FACTS SPECIFIC TO PLAINTIFF PREDDY

         30.     Ms. Preddy’s household has been a long-time ADT security customer. In 2017,

  Ms. Preddy’s mother received an offer from ADT to upgrade her account to the ADT Pulse

  system which included installing security cameras in their home. ADT represented to Ms. Preddy

  and her mother that this upgrade would enhance their personal security.

         31.     Ms. Preddy, only a teenager at the time, had reservations about installing security

  cameras inside of the home, however. When her mother expressed those reservations to ADT, it

  reassured them both that the security system was perfectly safe.




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          32.     Indeed, Ms. Preddy relied on ADT’s representations, including both

  representations by ADT representatives and ADT’s representations on its website, about the

  ADT Pulse system’s safety and security and accepted ADT’s upgrade offer in September 2017.

          33.     Shortly thereafter, an ADT technician installed the ADT Pulse system, including

  an indoor security camera with a wide-angle view inside Ms. Preddy’s home.

          34.     On April 24, 2020, a phone call from ADT destroyed whatever security and safety

  its security system promised. ADT called Ms. Preddy’s mother to explain that one of its

  technicians had gained access to her account and had been watching her and Ms. Preddy.

  According to ADT, at least one of its technicians accessed her home security cameras on

  approximately 73 different occasions.

          35.     In an email later that day, ADT Chief Customer Officer Jamie Haenggi described

  it as “a difficult message to hear.” Difficult is, of course, woefully inadequate to truly describe

  Plaintiff’s loss of security, loss of safety, humiliation, and anger.

          36.     Based upon the cameras’ wide-angle lens and placement, the ADT’s employee

  had an opportunity to watch at least the following events:

                  a. Ms. Preddy nude;

                  b. Ms. Preddy in various states of undress;

                  c. Ms. Preddy getting ready for bed; and

                  d. Moments of physical intimacy.

          37.     Immediately after the call, Ms. Preddy’s mother disconnected the ADT camera in

  their home. Ms. Preddy expended significant time addressing the current and future

  consequences of the exposure enabled by ADT, including, but not limited to, removing ADT

  security hardware, and researching additional surveillance and security devices and services.

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         38.     Prior to April 24, 2020, Ms. Preddy and her mother never received any call, text,

  email, or notification of any kind informing them that another user was added to the ADT Pulse

  account or that a third-party user accessed the ADT Pulse account.

                                      CLASS ALLEGATIONS

         39.     Class Definition: Plaintiff Alexia Preddy brings this action on behalf of herself

  and a class of similarly situated individuals defined as follows:

         All individuals in the United States who (1) reside in a household with an ADT Pulse
         security system, but are not the account holder; (2) where that security system was
         remotely accessed by an employee or agent of Defendant ADT without authorization
         from the account holder.

  The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

  this action and the members of their family; (2) Defendant, Defendant’s subsidiaries, parents,

  successors, predecessors, and any entity in which the Defendant or its parents have a controlling

  interest and their current or former employees, officers, and directors; (3) persons who properly

  execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

  matter have been finally adjudicated by a court of law on the merits; (5) Plaintiff’s counsel and

  Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

  excluded persons.

         40.     Numerosity: The exact number of members of the Class is unknown and is not

  available to Plaintiff at this time, but individual joinder in this case is impracticable. The Class

  likely consist of hundreds of individuals. Members of the Class can be easily identified through

  Defendant’s records.

         41.     Commonality: There are many questions of law and fact common to the claims

  of Plaintiff and the other members of the Class, and those questions predominate over any



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  questions that may affect individual members of the Class. Common questions for the Class

  include but are not limited to the following:

                  a. Whether Defendant’s conduct constitutes negligence;

                  b. Whether Defendant’s conduct constitutes gross negligence;

                  c. Whether Defendant’s conduct constitutes an intrusion upon seclusion;

                  d. Whether Defendant’s conduct constitutes negligent hiring, supervision and
                  retention; and,

               e. Whether Defendant’s conduct constitutes intentional infliction of emotional
                  distress.

         42.      Typicality: Plaintiff’s claims are typical of other members of the Class, in that

  Plaintiff and the members of the Class sustained damages arising out of Defendant’s uniform

  wrongful conduct.

         43.      Adequate Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Class and have retained counsel competent and experienced in

  complex class actions. Plaintiff has no interest antagonistic to those of the Class, and Defendant

  has no defenses unique to Plaintiff.

         44.      Predominance and Superiority: This case is also appropriate for class

  certification because class proceedings are superior to all other available methods for the fair and

  efficient adjudication of this controversy because joinder of all parties is impracticable. The

  damages suffered by the individual members of the Class will likely be relatively small,

  especially given the burden and expense of individual prosecution of the complex litigation

  necessitated by Defendant’s actions. Thus, it would be virtually impossible for the individual

  members of the Class to obtain effective relief from Defendant’s misconduct. Even if members

  of the Class could sustain such individual litigation, it would still not be preferable to a class

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  action because individual litigation would increase the delay and expense to all parties due to the

  complex legal and factual controversies presented in this Complaint. By contrast, a class action

  presents far fewer management difficulties and provides the benefits of single adjudication,

  economies of scale, and comprehensive supervision by a single Court. Economies of time, effort,

  and expense will be fostered, and uniformity of decisions ensured.

                                  FIRST CAUSE OF ACTION
                                           Negligence
                               (On Behalf of Plaintiff and the Class)

         45.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         46.     Defendant ADT had full knowledge of the purpose for which its security cameras

  were being used and the sensitivity of the people and things the cameras were designed to secure

  and protect—that which “matters most” to their clients. Defendant also knew the types of harm

  that Plaintiff and the members of the Class could and would suffer if the integrity of the security

  system was compromised.

         47.     Defendant had a duty to exercise reasonable care in ensuring that all ADT

  security systems were secure, safe to use, and inviolable by unauthorized parties. This duty

  includes, among other things, ensuring that reasonable and proper protocols and safeguards are

  in place so that consumers’ security cameras are not easily compromised by unauthorized users.

         48.     Defendant ADT, by and through its agents, employees, and independent

  contractors, was negligent in its acts and/or omissions by, amongst other things, allowing

  technicians to create authorized user accounts, and by failing to discover that its employees could

  make and did make themselves authorized users gaining unauthorized access to Plaintiff’s home

  ADT Pulse system, thereby allowing surreptitious videos and images to be viewed and taken of

  Plaintiff in their home.

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         49.     Plaintiff and the members of the Class were the foreseeable and probable victims

  of any inadequate security practices and procedures. Defendant knew of or should have known

  of the inherent risks of allowing ADT cameras to be set up and used without adequate security

  protocols and safeguards.

         50.     Defendant ADT further knew or should have known that: (1) the surreptitious

  recordings of Plaintiff contained private and confidential information about Plaintiff; (2) Plaintiff

  had a reasonable expectation of privacy in being partially and fully naked, engaging in

  consensual intimate activity, and having private conversations in a private home; (3) the

  recordings were taken without Plaintiff’s knowledge or consent; (4) the surreptitious recordings

  would reveal private and personal things about Plaintiff which Defendant had no right or

  authorization to view, use, disseminate, or disclose; (5) and the viewing of these private acts and

  occasions constitutes a substantial violation of Plaintiff’s right of privacy.

         51.     Beyond ordinary negligence, Defendant ADT was grossly negligent because the

  acts and omissions of Defendant ADT and its employees and agents were more than momentary

  thoughtlessness or inadvertence. Rather the conduct, when viewed objectively from the

  standpoint of Defendant ADT at the time of these events, involved an extreme degree of risk,

  considering the probability and magnitude of the potential harm to Plaintiff. Moreover,

  Defendant ADT had subjective knowledge of the risk of employees gaining unauthorized access

  to clients cameras, but failed to disclose to Plaintiff the vulnerability of their monitoring systems

  and the ability of ADT employees to monitor and observe their home without their consent, and

  acted with conscious indifference to the rights, safety, and welfare of their clients.

         52.     Defendant’s own actions and inactions created a foreseeable risk of harm to

  Plaintiff and the members of the Class. Defendant’s misconduct included, but was not limited to,

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  its failure to sell security systems with a sufficiently robust security protocols to prevent

  unauthorized users from gaining access to the cameras, and failing to inform Plaintiff and the

  members of the Class when unknown individuals added their email addresses to customer

  accounts.

         53.     Defendant was in a position to protect against the harm suffered by Plaintiff and

  the members of the Class and had a duty to do so.

         54.     Defendant, through its actions, unlawfully breached its duty to Plaintiff and the

  members of the Class by failing to ensure their cameras and set up procedures were sufficiently

  robust to protect against unauthorized use.

         55.     As a result of Defendant’s negligence, Plaintiff and the members of the Class

  have suffered and will continue to suffer damages and injury including, but not limited to: mental

  anguish and suffering in the form of anxiety, stress, loss of security, fear, loss of safety,

  humiliation, and anger.

         56.     Further, because Defendant’s acts and omissions resulted from gross negligence,

  exemplary damages should be awarded against Defendant in an amount to be determined by the

  jury in this case. Moreover, exemplary damages should be awarded without limitation, as set

  forth in TEX. CIV. PRAC. & REM. CODE § 41.008(c).

                                 SECOND CAUSE OF ACTION
                                    Intrusion Upon Seclusion
                               (On Behalf of Plaintiff and the Class)

         57.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         58.     Defendant intentionally intruded upon Plaintiff’s and each of the Class members’

  seclusion, permitting unauthorized access to their private security camera footage.




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          59.     Defendant’s facilitation and failure to stop such access is highly offensive to a

  reasonable person as it reveals intimate private details about Plaintiff and each of the Class

  memers and the activities they participate in inside the privacy of their own homes.

          60.     Defendant’s intrusion upon the Plaintiff’s and the Class members’ seclusion

  caused Plaintiff and the Class members mental anguish and suffering in the form of anxiety,

  stress, loss of security, fear, loss of safety, humiliation, and anger.

                                   THIRD CAUSE OF ACTION
                            Negligent Hiring, Supervision and Retention
                               (On Behalf of Plaintiff and the Class)

          61.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          62.     At all relevant times, Telesforo Aviles was ADT’s employee and/or agent.

          63.     Whenever in this Complaint it is alleged that Defendant did any act or thing, it is

  meant that each of Defendant’s officers, agents, servants, employees, or representatives did such

  act and/or that at the time such act was done, it was done with the full authorization or

  ratification of the Defendant, or was done in the normal and routine course and scope of

  employment of each of Defendant’s officers, agents, servants, employees, or representatives.

          64.     ADT had the opportunity and duty to screen its employees, including Aviles, to

  ensure they were fit to perform the duties asked of them.

          65.     ADT knew or should have known Aviles was incompetent or unfit. Nonetheless,

  ADT made the reckless decision to hire and retain Aviles as a technician.

          66.     ADT and its agents, servants, and employees, who were at all times acting in the

  course and scope of their employment, were guilty of negligence toward Plaintiff. Defendant

  ADT is further liable for the negligent acts of their agents, servants, or employees, including




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  Aviles, under the legal doctrine of respondeat superior. At all relevant times, Aviles was an agent

  apparent or ostensible agent of Defendant ADT.

         67.     ADT’s negligence was a proximate cause of Plaintiff’s and Class members’

  injuries and damages, including, but not limited to, Defendant ADT’s negligence in:

                 a. Failing to perform due diligence in contacting Aviles’s prior employers;

                 b. Failing to adequately evaluate Aviles’s mental state prior to hiring;

                 c. Any and all actions and omissions as may be proven at trial;

                 d. Negligently hiring Aviles in a position allowing him to have access to sensitive
                 client information;

                 e. Negligently allowing Aviles to access sensitive client information when
                 Defendant ADT knew, or in the exercise of ordinary care should have known, that
                 Aviles was unfit;

                 f. Negligently retaining Aviles in its employ in a position that provided him with
                 access to sensitive client information;

                 g. Negligently and inadequately supervising its employees;

                 h. Failing to create and/or enforce safety rules, polices, and procedures governing
                 employee conduct regarding access to clients’ cameras and other sensitive
                 information;

                 i. Failing to warn Plaintiff of the inappropriate and substandard hiring and
                 retention, training, and supervision of their employees; and

                 j. Negligently allowing the ADT employee to accomplish the tort upon Plaintiff
                 by the existence of his agency relationship with Defendant ADT.

         68.     These actions and omissions of ADT singularly, or in combination with others,

  proximately caused damages to Plaintiff and the Class, including mental anguish and suffering in

  the form of anxiety, stress, loss of security, fear, loss of safety, humiliation, and anger.

                                  FOURTH CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress
                                (On Behalf of Plaintiff and the Class)

         69.     Plaintiff incorporates the preceding paragraphs as if fully set forth herein.

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          70.     At all times herein, ADT’s employee acted intentionally, maliciously, and without

  justification, to gain unauthorized access to Plaintiff’s private camera, potentially including

  video of Plaintiff partially and fully naked, and engaging in intimate and other private activities,

  when ADT’s employee knew or should have known that Plaintiff would suffer severe emotional

  distress as a result.

          71.     The conduct by ADT’s employee was intentional and malicious and done for the

  purpose of causing, or was known by Aviles to be likely to cause, Plaintiff to suffer severe

  emotional distress, and was done with the wanton and reckless disregard of the consequences to

  Plaintiff.

          72.     Defendant ADT had a duty to exercise reasonable and ordinary care and caution

  in and about the management, maintenance, supervision, control and operation of its systems and

  each of their employees, agents, and independent contractors, all to the benefit of clients and

  persons like Plaintiff.

          73.     Defendant ADT, by and through its agents, employees, and independent

  contractors, was reckless in its acts and/or omissions by, amongst other things, allowing

  technicians to create authorized user accounts, and by failing to discover that Aviles made

  himself an authorized user and gained unauthorized access to Plaintiff’s home camera, thereby

  allowing surreptitious videos and images to be viewed and taken of Plaintiff in the privacy of her

  home.

          74.     Defendant ADT knew or should have known that: (1) the surreptitious recordings

  of Plaintiff contained private and confidential information about Plaintiff; (2) Plaintiff had a

  reasonable expectation of privacy in being partially and fully naked and engaging in consensual

  intimate activity, and having private conversations, in a private home; (3) the recordings were

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  taken without Plaintiff’s knowledge or consent; (4) the surreptitious recordings would reveal

  private and personal things about Plaintiff which Defendant had no right or authorization to

  view, use, disseminate, or disclose; (5) and the viewing of these private acts and occasions

  constitutes a substantial and outrageous violation of Plaintiff’s right to privacy.

         75.     These acts were done intentionally or with a conscious and/or reckless disregard

  of Plaintiff’s rights, and with the intent to vex, injure or annoy, such as to constitute oppression,

  fraud or malice. ADT acted outrageously and beyond all reasonable bounds of decency, and

  intentionally inflicted severe emotional distress upon Plaintiff, to her detriment.

         76.     As a direct and proximate result of ADT’s aforementioned acts and omissions,

  Plaintiff suffered, emotional injury, mental damage, loss, harm, anxiety, embarrassment,

  humiliation, shame, and severe emotional distress in an amount subject to proof. These damages

  are continuing in nature and will be suffered in the future.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Alexia Preddy, individually and on behalf of the Class of

  similarly situated individuals, prays for the following relief:

         A.      Certifying this case as a class action on behalf of the Class defined above,

  appointing Plaintiff as the representative of the Class, and appointing her counsel as class

  counsel;

         B.      Declaring that Defendant’s actions, as set out above constitute a negligence,

  intrusion upon seclusion, negligent hiring, supervision and retention, and intentional infliction of

  emotional distress;

         C.      Awarding damages, including statutory, exemplary and punitive damages where

  applicable;

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         D.      Awarding Plaintiff and the Class their reasonable litigation expenses and

  attorneys’ fees;

         E.      Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

  allowable;

         F.      Awarding such other injunctive and declaratory relief as is necessary to protect

  the interests of Plaintiff and the Class; and

         G.      Awarding such other and further relief as the Court deems reasonable and just.

                                    DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury for all issues so triable.

                                                  Respectfully submitted,

                                                  ALEXIA PREDDY, individually and on behalf of
                                                  all others similarly situated,

  Dated: May 18, 2020                             By: /s/ Karina D. Rodrigues
                                                          Karina D. Rodrigues


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